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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


CORNELL WADE BRUNSON, SR.,

       Plaintiff,                             CASE NO.: 3:22-cv-00127-BJD-MCR
vs.
PHH MORTGAGE CORPORATION,
d/b/a NewRez, et. al.,

       Defendants.
                                              /

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                    [As to PHH Mortgage Corporation d/b/a NewRez]

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the Plaintiff, Cornell Wade Brunson, Sr., and

Defendant PHH Mortgage Corporation, d/b/a NewRez, jointly stipulate to a Dismissal With

Prejudice of his claims against Defendant PHH Mortgage Corporation, d/b/a NewRez, with each

party to bear its own attorney’s fees and costs.

                     Respectfully submitted this 23rd day of January, 2023.

       /s/ Max Story, Esq.                          /s/ Linda M. Reck, Esq.
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                                                    d/b/a NewRez
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the forgoing was electronically filed
with the Clerk of Court by using the CM/ECF system which will send notice of electronic filing
to all counsel of record, this 23rd day of January, 2022.


                                                 /s/ Max Story_______
                                                 Max Story, Esq.
                                                 Florida Bar No. 0527238
